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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


UNITED STATES OF AMERICA                        )
                                                )
                v.                              )       No. 1:22-mj-00022-JCN
                                                )
XAVIER PELKEY                                   )


                                     SPEEDY TRIAL ORDER


         This matter comes before the court upon the parties’ Joint Motion to Exclude Time under

the Speedy Trial Act (Document 29). The parties have represented: (1) the defendant was

arrested on February 11, 2022, and first appeared on that date; (2) given the grand jury’s

schedule, the United States would, in the absence of a speedy trial exclusion, be required to

present this matter to the grand jury for an indictment on March 10, 2022; (3) counsel for the

parties have begun discussing the possibility of resolving the case without the need for a grand

jury indictment, but additional time is required for these discussions. The parties request that

they be given additional time to continue their efforts to resolve the case; and (4) through

counsel, the defendant waives his speedy trial rights and consents to the requested exclusion of

time under the Speedy Trial Act.

         After full consideration of the representations of the parties in this case and after full

consideration of the record in this case, the court hereby incorporates such representations as

findings of fact. Taking into consideration the factors set forth in Title 18, United States Code,

Section 3161(h)(7)(B), the court can and does find that the ends of justice served by such an

enlargement of time outweigh the best interests of the public and of the defendant in a speedy

trial.



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     IT IS HEREBY ORDERED THAT:

     1.     The parties’ Motion is hereby GRANTED.

     2.     The time period between March 7, 2022, and April 15, 2022, is hereby excluded
            from calculations under the Speedy Trial Act, Title 18, United States Code,
            Section 3161 et seq.


     SO ORDERED.


     Dated this 7th day of March, 2022.

                                                        /s/John C. Nivison
                                                        U.S. Magistrate Judge




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